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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/

          UNITED STATES’ REPLY IN SUPPORT OF RENEWED MOTION FOR
         PROTECTIVE ORDER PURSUANT TO SECTION 3 OF THE CLASSIFIED
                      INFORMATION PROCEDURES ACT

          The United States of America files this reply in support of its Renewed Motion for

   Protective Order Pursuant to Section 3 of the Classified Information Procedures Act (“CIPA”)

   (ECF No. 84, “Mot.”).

          The Government’s proposed protective order, ECF No. 84-1, reflects standard procedures

   for handling classified information in criminal cases and is consistent with the law.   Defendant

   Trump’s opposition (ECF No. 104, “Trump Resp.”), on the other hand, seeks special treatment

   that no other criminal defendant would receive and that is unsupported by law or precedent.    It

   also rests on a misrepresentation of the proposed protective order’s requirements.   The proposed

   protective order requires that any discussion of classified information between Trump and his

   attorneys take place in a sensitive compartmented information facility (“SCIF”); it does not

   require, as Trump maintains, that all discussions take place in the same SCIF where classified
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   discovery will be housed.    As such, there is no need to modify the proposed protective order on

   that basis—much less to include in the order approval to “re-establish[]” a secure area at an

   unidentified location used during Trump’s presidency, which is likely a reference to one of his

   homes. Creating a secure location in Trump’s residence—which is also a social club—so he can

   discuss classified information would be an unnecessary and unjustified accommodation that

   deviates from the normal course of cases involving classified discovery.

         The opposition filed by Defendant Waltine Nauta (ECF No. 105, “Nauta Resp.”) seeks

   Nauta’s unfettered personal access to classified discovery, even though he is not charged with any

   offense under 18 U.S.C. § 793, no longer has a security clearance, and has not established that he

   has a need to know the sensitive information in the classified documents.            The proposed

   protective order permits Nauta’s cleared counsel to view the classified discovery and to obtain

   permission, on a case-by-case basis, to share that classified discovery with his client, should such

   a need arise.   That procedure more than satisfies the constitutional concerns that Nauta invokes,

   while also complying with CIPA.

   I.     Defendant Trump’s Objections

          According to his opposition, Trump “opposes any portion of the Proposed CIPA Protective

   Order that prohibits counsel from simply discussing the relevant purportedly classified material

   with President Trump inside an approved secure location other than the designated SCIFs in the

   Southern District of Florida where the classified discovery will be housed.”     Trump Resp. at 1.

   The Government’s proposed protective order, however, contains no such requirement.          Rather,

   the Government’s proposed protective order (ECF No. 84-1) contains the following provisions:

             Paragraph 3.f defines “SCIF” as “a sensitive compartmented information facility
              approved by a designated CISO for the storage, handling, and control of classified
              information.”




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             Paragraph 8 requires that “[a]ny classified information the defense discusses with the
              Defendants in any way shall be handled in accordance with this Order, including such
              requirements as confining all discussions, documents, and materials to an accredited
              SCIF.”

             Paragraph 26.f requires the defense to “discuss classified information only within the
              SCIF or in an area authorized by the CISO.”1

          None of these provisions requires that the only SCIF in which defense counsel may discuss

   classified information with Trump is the SCIF where classified discovery will be housed.       In the

   Government’s view, the particular SCIF(s) that can be used for such discussions should be

   determined by the CISO in consultation with the defense, and if necessary, the Court, just as in

   any other criminal case involving classified information.

          Trump asks the Court to insert language in the protective order “to approve re-

   establishment of a secure facility” at an unidentified location where Trump was permitted to review

   classified information during his presidency.    Trump Resp. at 2. In making this request for the

   creation of a secure location for his personal use, Trump continues to seek special treatment that

   no other criminal defendant would receive. In essence, he is asking to be the only defendant ever

   in a case involving classified information (at least to the Government’s knowledge) who would be

   able to discuss classified information in a private residence. And of course, The Mar-a-Lago Club

   is even less suited than most residences to host a secure location, because it is a social club. In

   addition to Trump’s residence and office, The Mar-a-Lago Club contains more than 25 guest

   rooms, two ballrooms, a spa, a gift store, exercise facilities, office space, and an outdoor pool and

   patio. See ECF No. 85 at 5. As of January 2021, The Mar-a-Lago Club had hundreds of

   members and was staffed by more than 150 full-time, part-time, and temporary employees. Id.



   1
     As noted in the Government’s motion, the CISO may authorize the defense to discuss classified
   information at an in camera hearing, for example. See Mot. at 7.


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   Between January 2021 and August 2022, The Mar-a-Lago Club hosted more than 50 social events,

   including weddings, movie premieres, and fundraisers that together drew tens of thousands of

   guests. Id. Trump also provides no specifics in either his response or the attached declaration

   about what steps (including cost or time) would be required to create a secure space at his proposed

   location. The Government reiterates that as long as the classified information at issue—which

   includes a significant amount of SCI—is discussed in an accredited SCIF in compliance with

   Intelligence Community Directive (“ICD”) 705 and applicable laws and regulations, the

   Government defers to the CISO to aid the defense in determining the appropriate locations in

   which discussion of classified information may occur, including consultation with the Court if

   necessary.   There is no reason to use the protective order as a vehicle to address these fact-

   intensive logistical questions.

          Finally, the Government notes that Trump has mischaracterized the scope of classified

   information counsel is currently authorized to view. 2        See Trump Resp. at 5 (“SCI-level

   documents can only be viewed after full security clearance is secured.”).      As the Government

   indicated in previous filings, counsel with interim clearances may view certain SCI

   compartments—SI, SI-G, and TK.          See, e.g., ECF No. 84-1 at 7.        The Government has

   confirmed with the CISO that Trump’s counsel are currently authorized to view such documents.




   2
     This is not the only misstatement in Trump’s filing. For example, the Government never took
   the position that Trump was not entitled to review the classified information in the case. See
   Trump Resp. at 4. The Government had previously proposed a standard protective order
   provision permitting the Government to designate whether classified discovery could be provided
   to the defendants personally. See ECF No. 79-1. The Government represented to counsel during
   a meet-and-confer session that it was the Government’s intention to designate all classified
   discovery of which it presently was aware as releasable to Trump, consistent with its
   representations to the Court at the July 18 hearing. See Trump Resp. Ex. 2 at 12. Counsel for
   Trump was unsatisfied with this representation, and given the Government’s intention, the
   Government modified the proposed protective order to avoid unnecessary litigation.


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   Immediately upon the entry of a Section 3 protective order, defense counsel may access, as the

   Government represented at the July 18 hearing, “about 80 percent of the documents that went from

   the White House to Mar-a-Lago,” Trump Resp. Ex. 2 at 15, as well as other classified records that

   comprise the Government’s first production of classified discovery.

   II.    Defendant Nauta’s Objections

          Nauta objects to the protective order because it does not grant him unfettered personal

   access to the classified discovery.     He ignores the relevant language in the Government’s

   proposed protective order and proposes no alternative language for the Court.          The relevant

   portions of the Government’s protective order do not impose a wholesale prohibition on Nauta

   seeing any information provided to his counsel in classified discovery, as Nauta’s opposition

   implies. Rather, the relevant proposed provisions are as follows:

             Paragraph 8 prohibits the defense from disclosing classified information to Nauta
              “unless that same information has been previously disclosed to the defense by
              Defendant Nauta or the information has been approved for disclosure to Defendant
              Nauta pursuant to the procedure set forth in paragraph 26.j.”

             Paragraph 26.j prohibits the defense from disclosing classified information to
              Defendant Nauta, other than materials designated as releasable to him personally,
              “unless either (1) the defense seeks and obtains permission from the government, or (2)
              the Court orders the government to permit the information to be shared with Defendant
              Nauta, and the government informs the defense that it does not intend to exercise any
              further rights under CIPA.”

          These provisions, which Nauta does not address, fully satisfy his constitutional concerns,

   which are themselves largely based on the speculative possibility that the content of the classified

   discovery could affect his defense, even though he is not charged in any count under Section 793.

   Nauta undoubtedly has the right to be meaningfully present at his trial and to assist in his defense.

   See Holmes v. South Carolina, 547 U.S. 319, 324 (2006); Geders v. United States, 425 U.S. 80,

   89-91 (1976).    But the cases Nauta cites in support of this uncontroversial proposition have



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   nothing to do with access to discovery, let alone applicability to the classified information

   protective order issue before the Court.       Holmes presented “the question whether a criminal

   defendant’s federal constitutional rights are violated by an evidence rule under which the defendant

   may not introduce proof of third-party guilt” under certain circumstances, 547 U.S. at 321, and

   Geders considered whether a court order directing the defendant not to consult his attorney during

   an overnight trial recess violated his Sixth Amendment rights, 425 U.S. at 81.   Likewise, as Nauta

   concedes, United States v. Nunez, 1 F. 4th 976, 991-92 (11th Cir. 2021), addressed evidentiary

   rulings at trial—not pretrial discovery rulings—and found no infringement of defendants’ rights.

          Nauta claims that unless he is granted blanket access to the classified evidence, he “cannot

   reasonably determine whether to pursue a severance” and “cannot understand how evidence he

   may offer in his own behalf will be viewed by the jury absent an understanding of the case to be

   presented in its entirety by the government.”     Nauta Resp. at 4-5.   Nauta also speculates that if

   a classified “document reveals some form of bias,” he would need to see it to participate

   meaningfully in jury selection.    Id. at 5.    But those arguments conflate counsel’s access to

   discovery with Nauta’s personal access.        Nauta’s cleared counsel will be able to review all

   classified discovery presently identified. As discussed below, courts presume that counsel are

   qualified to make assessments such as these, and if after viewing the classified discovery, counsel

   believe there is a need to discuss with Nauta specific classified information not already designated

   for release to him, the Government’s proposed protective order provides a mechanism to do so on

   a case-by-case basis.

          Nauta provides two other reasons why he must personally view several thousands of pages

   of classified documents, neither of which is persuasive.      First, Nauta asserts that he needs to

   determine whether he has ever seen them before.       Nauta Resp. at 5-6.   The classified discovery




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   in this case goes well beyond the charged documents3 and includes documents so sensitive that

   Nauta would not have been permitted to view them even when he possessed a security clearance.

   The Government intends to disclose to Nauta the classified discovery that it has reason to believe

   Nauta has previously seen—the unredacted version of the picture included in paragraph 32 of the

   superseding indictment and the document charged in Count 8.      The mere possibility that Nauta

   previously may have seen another classified document does not establish a need for him to have

   access to several thousand pages of highly classified discovery containing some of the United

   States’ most sensitive secrets.   Furthermore, unlike Trump, Nauta is not charged with the

   unlawful retention of national defense information.   Nauta is charged with obstruction and false

   statements offenses related to the investigation of Trump’s unlawful retention of classified

   documents, the resolution of which does not turn on the classification of the documents he is

   alleged to have helped Trump conceal—establishing that information is classified or national

   defense information is not an element of any of the crimes with which he is charged.   His second

   argument, that he must personally review the charged documents because he may have information

   about whether the documents would have “been deemed classified,” see Nauta Resp. at 6, similarly

   fails—there is no reason to believe that Nauta would know any such information, and even if he

   did, that would not bear on any of the charges against him.

          Permitting Nauta automatic access to all classified discovery would be inconsistent with

   laws governing access to classified information and applicable case law.   Classified information

   may lawfully be provided only to individuals who have a “need to know” the information.       See




   3
     For example, the classified discovery will include other classified documents that were brought
   from the White House to Mar-a-Lago, classified emails about highly classified briefings given to
   then-President Trump, and classified witness statements about then-President Trump’s knowledge
   about classified information.


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   Mot. at 3 (citing Exec. Order 13526 §§ 4.1(a), 6.1(dd); United States v. Daoud, 755 F.3d 479, 484

   (7th Cir. 2014)).   Nauta would turn this principle on its head—instead of articulating a need to

   know as a condition precedent for blanket access to several thousand pages of classified

   information, he asks this Court to presume a need to know simply by virtue of his being a

   defendant—a defendant who is not even charged with retaining national defense information.

          Case law also forecloses Nauta’s arguments that he must have personal access to all

   classified discovery.   He cites United States v. Aref for the proposition that the Government may

   not deprive a defendant of material or helpful evidence (and in that case, the court held the

   Government had not done so).     533 F.3d 72, 79-81 (2d Cir. 2008). But Aref did not address the

   defendant’s personal access to classified discovery, and in fact, just a few months after deciding

   Aref, the Second Circuit in In re Terrorist Bombings referenced its holding in Aref and stated that

   it was “now hold[ing] that CIPA authorizes district courts to limit access to classified information

   to persons with a security clearance as long as the application of this requirement does not deprive

   the defense of evidence that would be ‘useful to counter the government’s case or to bolster a

   defense.’” 552 F.3d 93, 122 (2d Cir. 2008) (quoting Aref, 533 F.3d at 80).      If, in reviewing the

   classified discovery, counsel encounter specific information that would meet this standard, counsel

   can seek authorization to share that information with Nauta on a case-by-case basis, as the

   protective order allows.

          As discussed in the Government’s motion, courts have consistently rejected due process

   and Sixth Amendment challenges like Nauta’s.      See Mot. 4-5.   Nauta attempts to distinguish the

   Government’s cases because he is not “accused of violent, terrorist crimes or the transmission of

   national defense information to foreign and enemy nations . . . .”   Nauta Resp. at 6.   The cases

   cited in the Government’s motion, however, stand for the generally applicable proposition that




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   counsel is presumed to be able to make assessments based on classified discovery without the input

   of defendants in many situations, and when that occurs, no due process or Sixth Amendment

   violation results.   See In re Terrorist Bombings, 552 F.3d at 123-28 (rejecting defendant’s

   argument that his Fifth and Sixth Amendment rights were violated by a “mandatory clearance

   requirement” that “placed off-limits to him ‘important evidence which could not adequately be

   interpreted by counsel alone’”); United States v. Moussaoui, 591 F.3d 263, 289-90 (4th Cir. 2010)

   (rejecting an argument similar to the one defendant makes here that under cases such as Geders,

   supra, defendant had been deprived of his Sixth Amendment right to discuss evidence with

   counsel); United States v. Hausa, 232 F. Supp. 3d 257, 264 (E.D.N.Y 2017) (rejecting defendant’s

   argument that his due process rights were violated because he was personally denied access to

   evidence that only he could explain to counsel); United States v. Rezaq, 156 F.R.D. 514, 525 &

   n.20 (D.D.C. 1994) (holding that limiting to counsel disclosure of classified information did not

   violate defendant’s constitutional rights and citing several cases in which courts rejected due

   process or Sixth Amendment challenges to limitations on sharing information with defendants

   personally); see also United States v. Al Fawwaz, No. S7 98-CR-1023, 2014 WL 6997604, at *1-

   4 (S.D.N.Y. Dec. 8, 2014) (denying defendant’s motion to modify Section 3 protective order to

   permit counsel to disclose to defendant various classified materials).      Moreover, the classified

   discovery the defendants in these cases were not permitted to view was much more germane to the

   charges against them than what Nauta may not see here.

          Nauta’s attempt to distinguish these cases because the Government has not alleged that he

   is a terrorist or a spy misses the point, as does his attempt to shift the burden to the Government to

   show that he previously mishandled classified information or that he presents a disclosure risk.

   See Nauta Resp. at 3-4, 6-10.   For classified information, the burden is not on the Government to




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   show why a defendant should not have access.       Instead, the defendant, like anyone who accesses

   classified information, must have a demonstrable need to know it.        As several courts of appeals

   have observed, disclosures of classified information even to cleared individuals can put the

   information at risk, which is another reason why the dissemination of such information must be

   limited.    See Daoud, 755 F.3d at 484 (rejecting argument that defense counsel’s security

   clearance eliminated government’s national security interest in nondisclosure); see also United

   States v. Asgari, 940 F.3d 188, 191 (6th Cir. 2019) (“Defense counsel’s security clearance becomes

   relevant if and only if the court determines the material should be disclosed.”); United States v.

   Sedaghaty, 728 F.3d 885, 909 (9th Cir. 2013) (even if defense counsel hold appropriate security

   clearances, it “does not mean that [they are] entitled to access the government’s classified filings”).

            Finally, Nauta faults the Government for relying on prior protective orders with similar

   provisions to those proposed here where the order was not opposed.        Yet he offers no alternative

   language in the protective order and cites no case where that alternative language was included in

   a protective order.   And he offers no case in which a defendant charged with only obstruction and

   false statements offenses obtained unfettered access to classified information.

                                                Conclusion

            The Government’s proposed protective order (1) provides sufficient flexibility for counsel

   for Defendant Trump to discuss with him in any SCIF authorized by the CISO classified

   information, (2) permits Defendant Nauta to view classified information for which he has

   demonstrated a need to know, and (3) is consistent with standard practice and established law

   governing how classified information is normally handled in criminal cases.        For these reasons,

   the United States respectfully requests that the Court enter the Government’s proposed protective

   order.




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                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 14, 2023, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF.

                                                       s/ Julie A. Edelstein
                                                       Julie A. Edelstein
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